Case 09-31139-abl Doc 7 Entered 11/06/09 09:07:19 Page 1of8

 

 

 

 

 

Debtor Attorney PHILIP K GOLDSTEIN
Nevada Bar no. 4275

Attorney Firm Name PHILIP K GOLDSTEIN ESQ
Address 609 S 7TH ST

City, State Zip Code LAS VEGAS, NV 89101
Phone # 702-388-2004

 

Pro Se Debtor

 

UNITED STATES BANKRUPTCY COURT

 

 

DISTRICT OF NEVADA q

In re: ) mx -s-C4- MS
Debtor: LANCE ATCHISON ) Judge: Trustee:
Last four digits of Soc. Sec. No: 8523 ) CHAPTER 13 PLAN #

} Plan Modification @ yA © Before Confirmation © After Confirmation
Joint Debtor: CHERYL ATCHISON } Pre-Confirmation Mecting:
Last four digits of Soc. Sec. No: 9411 ) Date: tol f- JO" Time: 8:30. AM

) Confirmation Hearing

) Date: OHO Time: 1:30 PM

 

CHAPTER 13 PLAN WITH DETERMINATION
OF INTEREST RATES AND PLAN SUMMARY
O MOTION(S) TO VALUE COLLATERAL MOTION(S) TO AVOID LIENS
[Check if motion(s) will be filed]

YOU ARE HEREBY NOTIFIED THAT THIS PLAN AND THESE MOTIONS, IF APPLICABLE, WILL BE CONSIDERED FOR APPROVAL
AT THE CONFIRMATION HEARING DATE SET FORTH ABOVE. THE FILING AND SERVING OF WRITTEN OBJECTIONS TO THE
PLAN AND MOTIONS SHALL BE MADE IN ACCORDANCE WITH BR 3015(f) & 9014 AND LR 9014(e).

DEBTOR PROPOSES THE FOLLOWING CHAPTER 13 PLAN WITH DETERMINATION OF INTEREST RATES WHICH SHALL BE
EFFECTIVE FROM THE DATE IT IS CONFIRMED.

Section I. Commitment Period and Calculation of Disposable Income, Plan Payments, and Eligibility to Receive Discharge

1.01 Means Test - Debtor has completed Form B22C — Statement of Current Monthly income and Calculation of Commitment Period and
Disposable Income.

1.02. Commitment Period - The applicable commitment period is © 3 Yearsor OS Years. Monthly payments must continue for the
entire commitment period unless all allowed unsecured claims are paid in full in a shorter period of time, pursuant to §1325(b)}(4)(B). If the
applicable commitment period is 3 years, Debtor may make monthly payments beyond the commitment period as necessary to complete this
plan, but in no event shall monthly payments continue for more than 60 months.

1.03 Commitment Period and Disposable Income
The Debtor is under median income. (] The Debtor is over median income.

$0.00

1.04 Liquidation Val ursnant to §1325(a)(4

Liquidation value is calculated as the value of all excess non-exempt property after the deduction of valid liens and encumbrances and before the
deduction of trustee fees and priority claims. The liquidation value of this estate is: $ ~___ The liquidation value is derived from the
following non-exempt assets (describe assets):

 

1.05 Projected Disposable Income - The Debtor(s) does propose to pay all projected disposable income for the applicable
commitment period pursuant to §1325(b){1)(B).

1.66 The Debtor(s) shall pay the greater of disposable income as stated in 1.03 or liquidation value as stated in 1.04.

1.67 Future Earnings - The future earnings of Debtor shall be submitted to the supervision and control of Trustee as is necessary for the
execution of the plan.

1.08 MONTHLY PAYMENTS:

[Eff. 10/17/05 Rev. 4/1/07]

 

 

 
Case 09-31139-abl Doc 7 Entered 11/06/09 09:07:19 Page 2 of 8

a. Debtor shall pay to the Trustee the sum of $275.00 for 36 (#ofmonths) commencing 12/06/09 _. Totaling $9,900.00
b. Monthly payments shall increase or decrease as set forth below:

The sum of $0.00 for 0 (#ofmonths) commencing mm/dd/yy . Totaling $0.00
The sum of $0.00 for 0 .(# of months) commencing mm/dd/yy . Totaling $0.00
The sum of $0.00 for 0 (#ofmonths) commencing mm/dd/yy . Totaling $0.00

1.09 OTHER PAYMENTS - In addition to the submission of future earnings, Debtor will make non-monthly payment(s) derived from
property of the bankruptcy estate or property of Debtor, or from other sources, as follows:
Amount of Date Source of

       

1.10 TOTAL OF ALL PLAN PAYMENTS INCLUDING TRUSTEE FEES = $9,900.00

1.11 Trustees fees have been calculated at 10% of ail plan payments which totals = $990.00 This amount is included in 1.10 above.

 

1.12 Tax Refunds - Debtor shall tum over to the Trustee and pay into the plan annual tax refunds for the tax years:
2009 2010 2011
1.13 ELECTION T 100% OF ALL FILED AND ALLOWED ERAL NON-PRIORITY UNSECURED CLAIM:

a. O = 100% of all filed and allowed non-priority unsecured claims shall be paid by Trustee pursuant to this Plan.
b. [] General unsecured creditors will be paid interest at the rate of 0% . [Check this box and insert the present value rate of interest - if
debtors estate is solvent under §1325{a)(4).]

1.14 Statement of Eligibility te Receive Discharge
a. Debtor, © LANCE ATCHISON is eligible to receive a Chapter 13 discharge pursuant to §1328 upon completion of all plan obligations.

b. Joint Debtor CHERYL ATCHISON is eligible to receive a Chapter 13 discharge pursuant to §1328 upon completion of all plan obligations.

Section II. Claims and Expenses
A. Proofs of Claim

2.01 A Proof of Claim must be timely filed by or on behalf of a priority or general non-priority unsecured creditor before a claim will be paid pursuant to this
plan.

2.02 A CLASS 2A Secured Real Estate Mortgage Creditor shali be paid all post-petition payments as they become due whether or not a Proof of Claim is
filed. The CLASS 2B secured real estate mortgage creditor shall not receive any payments on pre-petition claims unless a Proof of Claim has been filed.

2.03 A secured creditor may file a Proof of Claim at any time. A CLASS 3 or CLASS 4 secured creditor must file a Proof of Claim before the claim
will be paid pursuant to this Plan.

2.04 Notwithstanding Section 2.01 and 2.03, monthly contract installments falling due after the filing of the petition shall be paid to each holder of a CLASS
1 and CLASS 6 secured claim whether or not a proof of claim is filed or the plan is confirmed.

2.05 Pursuant to §507(a)(1), payments on domestic support obligations (DSO) and payments on loans from retirement or thrift savings plans described in
§362(b)(19) falling due after the filing of the petition shall be paid by Debtor directly to the person or entity entitled to receive such payments whether or not
a proof of claim is filed or the plan is confirmed, unless agreed otherwise.

2.06 A Proof of Claim, not this plan or the schedules, shall determine the amount and the classification of a claim. Pursuant to §502(a) such claim or interest
is deemed allowed unless objected to and the Court determines otherwise. :
a. Claims provided for by the plan - Ifa claim is provided for by this plan and a Proof of Claim is filed, payments shall be based upon the claim
unless the Court enters a separate Order otherwise determining (i) value of the creditors collateral; (ii) rate of interest; {iii} avoidance of a lien; (iv)
amount of claim or (v) classification of a claim. If interest is required to be paid on a claim, the interest rate shall be paid in accordance with the Order
Confirming Chapter 13 Plan or such other Order of the Court which establishes the rate of interest.
b. Claims not provided for by the plan - [fa claim is not provided for by this plan and a Proof of Claim is filed, no payment will be made to the
claimant by the Trustee or the Debtor until such time as the Debtor modifies the plan to provide for payment of the claim. Such claim or interest is
deemed allowed unless objected to and the Court determines otherwise. If no action is taken by the Debtor, the Trustee may file a Motion to Dismiss
the case or a Trustee's Modified Plan.

B. Fees and Administratiye Expenses

2.07 Trustee's fees - Trustee fees shall be calculated at 10% of payments made under the Plan, whether made before or after confirmation, but excluding
payments made directly by Debtor, as provided for by the plan, to CLASS 1, CLASS 2, or CLASS 6 creditors or pursuant to an executory contract or
unexpired lease.

(Eff. 10/17/05 Rev. 4/1/07]

 

 
Case 09-31139-abl Doc 7 Entered 11/06/09 09:07:19 Page 3 of 8

2.08 Compensation of Former Chapter 7 Trustee - Payment of compensation of the type described in §1326(b)(3) shall be limited to the greater of $25, or
5% of the amount navable to non-priority unsecured creditors divided by the length of the plan, each month for the duration of the plan.
Trustee's Name Compensation

 

 

 

 

 

2.09 Administrative expenses other than Trustee's fees and Debtor's attorney's fees - Except to the extent the claimant agrees to accept less, and unless
administrative fees shali be paid in full.
Creditor's Name Services Provided Amount Owed

$ -

$ -

   

$ -

2.10 Administrative Expenses - DEBTOR'S ATFORNEY'S FEES - The Debtor's attorney's fees, costs, and filing fees in this case through
Confirmation of the plan shallbe $5,599.00 . The sum of $ 1,000.00 has been paid to the attorney prior to the filing of the petition. The
balance of $4,599.00 shall be paid through the plan. If fees and costs stated above are in excess of 16 Hours X $350.00 (Insert Attorney's
Billable Hourly Rate)+ $274.00_ (Filing Fee) + 3_.- (Costs) = $5,874.00 (TOTAL), such fees and costs must be approved by the
Court. However, all fees are subject to review and approval by the Court. The attorney's fees paid through the plan shall be paid (check one)

® in accordance with Section 4.02 or © a monthly payment of $= commencing emm/yy _. It is contemplated that the Debtor(s) will
continue to utilize the services of their attomey through the completion of the plan or until the attorney is relieved by Order of the Court. Debtor

may incur additional attomey's fees post-confirmation estimated in the amount of $1,401.00. Such additional estimated attorney's fees are
included in this plan for payment by the Trustee and do not render the plan infeasible. Any additional attorney’s fees and costs after confirmation must be

paid through the plan after approval of the Court. [Trustee Pays]

C. Secured Claims

2.11 CLASS I - Secured claims for real estate loans and/or real property taxes that were current when the petition was filed - At the time of the
filing of the petition, Debtor was current on all CLASS 1 claims. Debtor shall pay the ongoing contract installment payment on each CLASS 1 claim for real

estate loans and/or real taxes due after the of the as listed below.
5

          

0.00% mm/yyyy

0.00% mm/yyyy

0.00% mmyyyy

0.00% mmn/yyyy

0.00% mmn/yyyy

2.12 CLASS 2 - Secured claims for real estate loans and/or real property taxes, HOA fees, and Public Utilities that were delinquent when the
petition was filed - The monthly contract installment payment on each CLASS 2A claim for real estate loans due after filing of the petition shall be paid as
designated below. The Debtor shall pay directly all post-petition real estate taxes not otherwise paid by the real estate loan creditor. Trustee shall pay all
CLASS 2C pre-petition arrearage claim for real estate taxes prior to CLASS 2B payment on pre-petition arrearage claims on real estate loans. CLASS 2
claims are not modified by this plan and the creditor shall retain its existing lien until paid in full.

2.12.1 CLASS 2A - Secured Real - Post Petiti n ntract installment psyments

Post-Petition monthly contract installment payments shall be paid by the Trustee or Debtor as designated below. If the Trustee is designated than: (a} the
Trustee shall make monthly post-petition contract installment payments on claims as they come due. (b) The first monthlycontract installment payment due
after the filing of the petition shall be treated and paid in the same manner as a pre-petition arrearage claim unless agreed otherwise. (c} If Debtor makes a
partial plan payment that is insufficient to pay all monthly contract installment payments due, these installments will be paid in the order listed below. (d)
Trustee will not make a partial payment on a monthly contract installment payment. (¢) If Debtor makes a partial plan payment, or if it is not paid on time
and Trustee is unable to pay timely a monthly contract installment payment due on a CLASS 2A claim. The Debtor's cure of this default must be
accompanied by any applicable late charge. (f) Upon receipt, Debtor shall mail or deliver to Trustee ali notices from CLASS 2A creditors including, without
limitation,

statements, payment coupons, impound and escrow notices, default notifications, and notices concerning changes of the interest rate on variable

interest rate loans. The automatic stay is modified to permit the sending of such notices, Prior to mailing or delivering any such notice to the Trustee,
Debtor shall affix the Chapter 13 case ¢ number to ‘it If any such notice informs Debtor that the amount of the monthly < contract installment payment has

Cite

 

 

 

Creditor’s Name/ Installment A ta : . If Trustee, # of
Collateral Description Payment Interest Rate |Maturity Date Post-petition Payments Paid By: Months through Plan
$ - 0.00% mm/yyyy Trustee 60
$ - 0.00% mm/yyyy - Trustee 60

 

 

 

 

 

 

 

 

[Eff. 10/17/05 Rev. 4/1/07]

 

 

 
Case 09-31139-abl Doc 7 Entered 11/06/09 09:07:19 Page 4of8

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

$ . 0.00% mm/yyyy Trustee 60
$ - 0.00% mm/yyyy Trustee 60
$ - 0.00% mm/yyyy Trustee 60
2.12.2 CLASS 2B - Secured Real Estate Mortgage - Pre-Petition Claim. [Trustee Pays}
Creditor's Name / Interest Rate Pre-petition Grand Total
_ [Collateral Description If Applicable Arrearage
CHASE 0.00% $ 3,060.00) $ 3,000.00
HFC 0.00% STRIPPING #VALUE!
0.00% § -1$ -
0.00% $ -1 5 -
0.00% $ -| $ -

 

 

 

 

 

 

2.42.3 CLASS 2C - claim on real homeowners and public utilities. [Trustee Pays]
's Name / Interest Rate Pre-petition Grand Total

    

   

0.00% -
0.00% -

0.00% :

2.13 CLASS 3 - Secured claims that are modified by this plan or that have matured or will mature before the plan is completed - Each CLASS 3
¢laim will be paid in full by the Trustee. The creditor shall retain its existing Hen and receive payments in equal monthly amounts as specified below. The

monthly payments may increase or decrease after a specified number of months as stated below. This section shall be used to specify Adequate Protection
Payments. A CLASS 3 claim shall be the amount due under any contract between Debtor and the claimant or under applicable non-bankmuptcy law, or, if

§506(a) is applicable, the value of the collateral securing the claim, whichever is less. Section 506(a) is not applicable if the claim is secured by a purchase

money security interest and (a) was incurred within 910 days of the filing of the petition and ts secured by a motor vehicle acquired for the personal use of

Debtor, or (b) the claim was incurred within 1 year of the filing of the petition and is secured by any other thing of value. . [Trustee Pays]

 

 

 

 

 

 

 

 

 

 

 

 

2.13.1 CLASS 3A - Secured Claims Paid Based on a Proposed §506(a) Collateral Valuation or by Agreement. [Trustee Pays]
Creditors Name Claim Fair Market Interest Rate Monthly Total Interest] Monthly Start Date Grand Total
/Collateral Description Amount Value to be paid Payments Paid by Plan
Payments
$ . $ ° 0.00% 36 $ -_|$ - min/yyyy | $
0 $ - |$ - | mmn/yyyy
$ - $ 0.00% 36 $ -|$ -_| mmvyyyy | $
o $ -_1$ ~_ | mnvyyyy
5 - $ - 0.00% 36 $ - |$ - mmov/yyyy | $
0 $ -_|$ -_|_ man/yyyy
$ - $C 0.00% 36 $ - |$ -_ | _mmilyyyy | $
0 $ -_ [5 : mun/yyyy
$ - $ - 0.00% 36 $ - |$ . min/yyyy $
0 $ - 13 -_|_mm/yyyy

 

 

 

 

 

 

 

 

 

 

 

2.13.2 CLASS 3B - Secured Claims Modified and Paid in Full (§506 does not apply)
§1325(a) — Modification of 910 Day Motor Vehicle Claim / 1 Year Personal Property Claim / Secured Tax Liens / Other [Trustee Pays

 

 

 

 

 

 

 

 

 

 

 

Creditors Name Claim Number of Monthly | Total Interest} Monthly | srart pate | Grand Total Paid
‘Collateral Description Amount Interest Rate Payments to be paid Payments by Plan

$ - 0.00% 36 $ : $ - mm/yyyy | $ -
0 $ - $ - mm/yyyy

$ - 0.00% 36 $ - $ - min/yyyy | $ -
0 § : $ - mm/yyyy

$ - 0.00% 36 $ - $ - mun/yyyy_| $ -
0 $ : $ - mm/yyyy

$ > 0.00% 36 $ - $ - mm/yyyy_ | $ -
0 5 = $ - mm/yyyy

$ - 0.00% 36 $ - $ - mmiyyyy | $ -

 

 

 

 

 

 

 

 

 

 

 

(Eff. 10/17/05 Rev. 4/1/07)

 

 
Case 09-31139-abl

Doc 7 Entered 11/06/09 09:07:19 Page5of8

 

| 0

Ls

- [3

-__| mmiyyyy |

2.13.3 CLASS 3C - Debtor(s) offer to modify a 910- Day PMSI motor vehicle or personal property purchase within 1 year
period or any other thing of value - Unless Creditor affirmatively accepts the offer by the time of the Confirmation Hearing, Debtor

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

shall surrender the collateral within 10 days after the confirmation hearing in full satisfaction of the debt. [Trustee Pays}
Creditors Name / Claim Debtor's Offer! Debtor's | Number of Total Interest Proposed s D Grand Total
Collateral Description Amount To Pay on Offer Monthly to be paid Monthly tart Date Paid by Plan
(aim _ |_Favments Payment
$ - $ - 0.00% 36 $ $ - rum/yyyy_| $ -
0 $ $ : mm/yyyy
$ - $ - 0.00% 36 $ $ : mm/yyyy_| $ -
0 $ $ . mnv/yyyy
$ - $ > 0.00% 36 $ $ - mm/yyyy_| $ -
0 $ $ : min/yyyy
$ - $ - 0.00% 36 $ $ - mm/yyyy_| 5 -
0 $ $ : mm/yyyy
$ - $ - 0.00% 36 $ $ - mm/yyyy_| $ -
0 $ $ : mm/yyyy
2.14 CLASS 4 - Secured claims for personal property that we hen the petition was filed including 910-Day PMSI motor vehicle or
any other thing of value if debt was incurred within 1 year of filing. CLASS 4 claims are not modified by this plan and may mature before or after the

last payment under the plan. Debtor or a third party shall pay the monthly contract installments on CLASS 4 claims as they come due whether or not the plan
is confirmed and such payment shall constitute adequate protection as required by §1326(a)(1)(C). Trustee shall pay cach CLASS 4 pre-petition claim for

arrears. Creditor shall retain its existing lien. [Trustee Pays Delinquency/Debtor Pays Post-Petition]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

citer Nam [cia amount | Mons Convact [Monts Remaining Preeitony Tecra [ TET Gra Tot
$ - 1 $ 0 $ - 0% $ -| $ -
$ - 1 $ 0 $ - 0% $ -| 3 -
$ - 7 $ 0 $ - 0% $ -| § -
$ - 13 0 $ - 0% $ -| § .
$ - | 3 0 $ - o% $ -| $ -
2.15 CLASS § - laims satisfied by the surrender of collateral - As to personal property secured claims, Debtor shall surrender the collateral to

the creditor not later than 10 days after confirmation of this plan. As to real property secured claims, the entry of the confirmation order shall constitute an
order modifying the automatic stay to allow the holder of a CLASS 5 secured claim to exercise its remedies under applicable non-bankruptcy law.

 

Creditor's Name/
Collateral Description

Surrender in Full Satisfaction of

Debt

Deficiency

If No, Estimated

 

 

 

 

 

 

 

 

 

 

 

 

2.16 CLASS 6 - Secured claims paid directly by Debtor or third party (other than ongoing real estate mortgage payments) - CLASS 6 claims

mature before or after the completion of this plan, are not in default, and are not modified by this plan which may include $10-Day motor vehicle claims and
claims incurred within 1 year of filing the petition and secured by any other thing of value. These claims shall be paid by Debtor or a third person whether or
not the plan is confinmed. [Debtor Pays}

 

 

 

 

 

 

 

Creditor's Name / Collateral Description Monthly Contract Installment | Maturity Date
$ - mnvyyyy
$ - mam/yyyy
$ - mm/yyyy
$ - mm/yyyy

 

 

 

(Eff. 10/17/05 Rev. 4/1/07]

 

 

 

 

 
Case 09-31139-abl Doc 7 Entered 11/06/09 09:07:19 Page 6 of 8

 

 

 

$ - man/yyyy

 

 

 

D. Unsecured Claims

2.17 CLASS 7 - Priority unsecured claims pursuant to §507.

2.17.1 CLASS 7A - Priority unsecured claims being paid in full pursuant to §507. [Trustee Pays
Creditor's Name Describe Priority | Claim Amount Interest Rate If Total Interest To Be Grand Total

Applicable Paid
> 0.00%
: 0.00%
0.00%
- 0.00%
: 0.00% 3 :

2.17.2 CLASS 7B - Priority unsecured claims pursuant to §507 and §1322(a)(2) and the holder of the claim agrees to a different treatment of the
claim. rustee

 

 

 

SiGe
'

 

 

oF 164

 

 

 

 

 

 

 

GF 565 | 64 [05 1 O44
t
4

8 | G4 | 64 [69 [a4
1

 

 

 

Creditor's Name Describe Priority Claim Amount| Aereed Claim | Interest Rate If | Total Interest) ¢ ana Total

0.00% $ $
0.00% $
0.00%

 

3
$

0.00% $ $

2.17.3 CLASS 7C - Priority unsecured claims pursuant to §507(a})(1)(B) and §1322(a)(4). This class includes allowed unsecured Domestic Support
Obligations appropriately assigned to a government unit whereby less than the full amount will be paid and the plan provides for all of Debtor's Projected
Income for a 5 rustee
Creditor's Name Claim Amount Amount Paid Plan

     

2.18 CLASS 8 - §1305 Post-Petition Claims - This class includes but is not limited to taxes that become payable to a governmental unit while the case is
pending and/or consumer debt including delinquent Post-Petition Mortgage Payments. [Trustee Pays]

 

 

 

 

 

 

 

Creditor's Name / Collateral Description (if applicable) Claim Amount wee Interest To Be Paid | Penalties | Grand Total
$ : 0.00% | $ - [s - [8 -
$ ; 0.00% | $ - |[$ - {[$ :
$ - 0.00% $ : $e $ :
$ - 0.00% 1$ - I$ - |$ .
$ . 0.00% [3S - [s - [3 -

 

 

 

 

 

 

 

 

2.19 CLASS 9 - Special class unsecured claims - This class includes unsecured claims, such as co-signed unsecured debts, that will be paid in full
even if all other unsecured claims may not be paid in full. This class may include §1328(a) Non-dischargeable Claims with payment of interest pursuant to
§1322(b)(10) provided disposable income is available after making provision for full payment of all allowed claims, [Trustee Pays]

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

i. !
n veription of Debt Claim Amount Interest Rate Neer of >. vmmeng Start Date tee to Grand Total
$ - 0.00% 0 $ ~_|_ mm/yyyy_ [$ - [3 -
$ > 0.00% o 3 -_ | mmAyyy_ [5 - [38 -
$ - 0.00% 0 $ -_ | mm/yyyy_[$ - |$ -
$ - 0.00% 0 $ - mnvyyyy_ | $ - |3$ -
$ 7 0.00% 0 $ - | mmiyyyy [5 - [35 -
2.20 CLASS 16 - General non-priority unsecured claims - After payment to CLASS 9 Creditors, the Trustee will pay to the creditors with allowed

general non-pricrity unsecured claims a pro rata share of approximately $0.00 less debtor attomey fees. (Est. tobe $6,000.00 )
In the event that Liquidation Value as stated in 1.04 is greater than Disposable Income as stated in 1.03, the approximate dollar amount to be paid to non-
priority unsecured claims shall be greater than stated herein. [Trustee Pays]

Section IIL. Executory Contracts and Unexpired Leases

3.01 Debtor assumes or rejects the executory contracts and unexpired leases listed below. Debtor shall pay directly all required contractual post-petition
payments on any executory contracts or unexpired lease that has been accepted, Any executory contract or unexpired lease not listed in the table below is
rejected. Entry of the Confirmation Order modifies the automatic stay to allow the non-debtor party to a rejected unexpired lease to obtain possession of

leased property pursuant to §365(p)(3).
(Eff. 10/17/05 Rev. 4/1/07]

 

 

 
Case 09-31139-abl Doc 7 Entered 11/06/09 09:07:19 Page 7 of 8

 

 

 

 

 

 

Lessor - Collateral A t / Reject Monthly Contract | Pre-petition | Pre-petition | Interest Start |Total Interest} Grand
Description ceepe fisesec Payment Arrears |Arrears Paid By} Rate Date | Paid By Plan Total
Accept $ - $ - Trustee 0.00% | mm/yyyy) $ > $C

Accept $ . - $ - Trustee 0.00% | mmfyyyy |] $ - $ -

Accept $ - $ - Trustee 0.00% | mm/yyyy | $ - $ -

Accept $ - $ - Trustee 0.00% | mmiyyyy | $ - $ -

Accept $ - $ - Trustee 0.00% | mmfyyyy] $ - $ -

 

 

 

 

 

 

 

 

 

 

 

Section IV. Payment of Claims and Order of Payment
4.01 After confirmation of this plan, funds available for distribution will be paid monthly by Trustee to holders of allowed claims and approved
expenses.

4.02 Distribution of plan payment. (select one)
@ 4. Regular Distribution of Plan Payments - Trustee shall pay as funds are available in the following order unless stated otherwise: Trustee's fees,

monthly contract installments to CLASS 2A; adequate protection payments until confirmation ; administrative expenses; CLASS 3, CLASS 2C, and
CLASS 4 secured claims as provided for in the pian; CLASS 7 priority claims until paid in full; CLASS 8 §1305 post-petition claims; CLASS 2B
arrearage claims; CLASS 9 special class unsecured claims; CLASS 10 general non-priority unsecured claims.

OR

b. Alternative Distribution of plan payments - [f the Regular Distribution of Plan Payments is not selected then this alternative distribution of plan
payments shall be specifically set forth below in Section VI Additional Provisions and shall designate the order of payment as funds are available.

4,03 Priority of payment among administrative expenses - The portion of the monthly plan payment allocated in Section 4.02 for administrative expenses
described in Sections 2.08, 2.09, and 2.10 shall be distributed first on account of the monthly dividend due to a former chapter 7 trustee pursuant to Section
2.08, then to holders of administrative expenses described in Sections 2.09 and 2.10 on a pro rata basis

Section V. Miscellaneous Provisions

5.01 Adequate protection payments - Prior to confirmation, Trustee shall pay on account of each allowed CLASS 3 claim secured by a purchase money
security interest in personal property an adequate protection payment as required by §1326(a)(1)(C) commencing the month after the petition is filed
provided that a Proof of Claim has been filed and payment has been provided for in this plan. Adequate protection payments shall be disbursed by Trustee in
connection with the customary disbursement cycle beginning the month after the petition is filed. The Creditor shall apply adequate protection payments to
principal and interest consistent with this plan.

5.02. Post-petition interest - Post-petition interest shall accrue on all Class 2, Class 3, and Class 4 claims at the rates stated herein except to the extent the
Class 2B claim is for mortgage arrears on a loan incurred after October 22, 1994, unless the real estate contract provides otherwise, in which case interest
will always be 0%. If the plan specifies a '0%!' rate, no interest will be accrued. However, if the provision for interest is lefl blank, interest at the rate of 10%
per annum will accrue. For Class 2A claims secured only by real property that is Debtor's principal residence, and for Class 3.B. claims that are not subject to
§506(a) collateral valuation and secured by property with a value greater than is owed under any contract or applicable non-bankmuptcy law, interest shall
accrue from the petition date. All Class 3B and Class 3C and Class 4 secured claims shall accrue interest from the date the plan is confirmed unless otherwise
ordered by the court.

5.03 Vesting of property - Any property of the estate scheduled under §521 shall revest in the Debtor upon confirmation. In the event the case is converted
to a case under Chapter 7, 11, or 12 of the Bankruptcy Code or is dismissed, the property of the estate shall be determined in accordance with applicable law.

5.04 Debtor's duties - In addition to the duties imposed upon Debtor by the Bankruptcy Code and Rules, the Local Bankruptcy Rules, and the General
Order, this plan imposes the following additional requirements on Debtor: (a} Transfers of property and new debt. Debtor is prohibited from
transferring, encumbering, selling, or otherwise disposing of any personal property with a value of $1,000 or more or real property with a value of $5,000 or
more without first obtaining court authorization. Except as provided in §364 and §1304, Debtor shall not incur aggregate new debt exceeding $1,000
without first obtaining court authorization. A new consumer debt of less than $1,000 shall not be paid through this plan absent compliance with §1305(c).
(b) Insurance. Debtor shall maintain insurance as required by any law or contract and Debtor shail provide evidence of that insurance as required by
§1326(a)(4). (c) Compliance with applicable non-bankruptcy law. Debtor's financial and business affairs shall be conducted in accordance with

annlicahle non-hankruntcv law including the timely filing of tax returns and navment of taxes. {d) Periodic renorts. The Debtor shall provide Trustee with
a copy of any personal federal tax return filed while the case is pending accompanied by W-2 forms and 1099 forms. Upon Trustee's request, Debtor shall

provide Trustee with other tax returns filed while the case is pending and quarterly financial information regarding Debtor's business or financial affairs. (e)
Documents required by Trustee. In addition to the documents required by the Bankruptcy Code and Local Rules, the Debtor shall provide to Trustee not

later than the first date set for the 6341 meeting (1) written notice of the name and address of each person to whom the Debtor owes a domestic
support obligation together with the name and address of the relevant State child support enforcement agency [see 42 U.S.C. §464 & §466], (2) a wage order

if requested by Trustee, (3) a CLASS 2A Worksheet and Authorization to Release Information for each CLASS 2A claim, (4) IRS Form 8821 and IRS Form
4506. (f} Documents required by Trustee prior to Discharge of Debtor. Within 30 days of the completion of plan, the Debtor shall certify to the Court
with a copy to the Trustee the following: (1) of the name and address of each person to whom the Debtor owes domestic support obligation at that

(Eff. 10/17/05 Rev. 4/1/07]

 

 

 
Case 09-31139-abl Doc 7 Entered 11/06/09 09:07:19 Page 8 of 8

time together with the name and of the relevant State child support enforcement agency [see 42 U.S.C. §464 & §466], (2) current address of the Debtor; (3)
name and address of Debtor's current employer; (4) name of each creditor whose claim was not discharged under 11 USC §523(a)(2); and/or (5) name of
each creditor that was reaffirmed by the Debtor under §524(c); (6) certificate of completion of an instructional course in Personal Financial Management,
and (7) Notarized Declaration: Regarding Domestic Support Obligations stating Debtor(s) is Current.

5.05 Remedies on default - If Debtor defaults in the performance of this plan, or if the plan will not be completed in 60 months, Trustee or any other party
in interest may request appropriate relief by filing a motion and setting it for hearing pursuant to LR 9014. This relief may consist of, without limitation,
dismissal of the case, conversion of the case to chapter 7, or relief from the automatic stay to pursue rights against collateral. If, on motion of a creditor, the
court terminates the automatic stay to permit a creditor to proceed against its collateral, unless the court orders otherwise, Trustee shall make no further
distribution to such secured claim. Ary deficiency claim remaining after the disposition of the collateral shail be satisfied as a CLASS 10 unsecured claim
provided a proof of claim or amended proof of claim is timely filed and allowed and served on Debtor and Trustee, except as may be provided in 2.15
CLASS 5. Such deficiency claim shail be paid prospectively only. Chapter 13 plan payments previously disbursed to holder of other allowed claims shall
not be recovered by the trustee to provide a pro rata distribution to the holder of any such deficiency claim.

Creditors shall r: lien on titles when pai rsuant to §1325(a)(5)(B) - A holders of a claim shall retain its lien until the earlier of (a) the
payment of the underlying debt determined under non-bankruptcy law or (b) discharge under Section §1328, and if the case under this chapter is dismissed
or converted without completion of the Plan, such fiens shall also be retained by such holder to the extent recognized by applicable non-bankruptcy law.
After either one of the foregoing events has occurred, creditor shall release its lien and provide evidence and/or documentation of such release within 30 days
to Debtor(s).

5,07 Plan Payment Extension Without Modification - If the Plan term does not exceed 60 months and CLASS 2B, CLASS 2C, CLASS 4, CLASS 7,
CLASS 8, and CLASS 9 claims are filed in amounts greater than the amounts specifically stated herein, the Debtor authorizes the Trustee
to continue to make payments to creditors beyond the term of the Pian, such term not to exceed 60 months. The Debtor shall continue to make plan
payments until the claims, as filed, are paid in full or until the plan is otherwise modified.

Section VI. Additional Provisions

 

is an amended or modifj the preprinted language of this form has no: n altered - This does not mean that Debtor is prohibited from
proposing additional! or different plan provisions. As long as consistent with the Bankruptcy Code, Debtor may propose additional or different plan
provisions or specify that any of the above provisions will not be applicable. Each such provision or deletion shall be set forth herein below or attached
hereto as an exhibit and shall be identified by a section number (6.02, 6.03, etc.).

6.02 Administrative Expenses - DEBTOR'S ATTORNEY'S FEES - The Debtor's attorney’s fees, costs, and filing fees in this case through
Confirmation of the plan shall be the sum of the following:

Fees and Costs for Basic Chapter 13 Services: $4,600.00

 

 

Fees for Uncontested lien "strip" motion: $ 999,00

Tatal "nn look" fees and costs: §5.499_00

Submitted the 5 day of November +20 09

/S/ Lance Atchison /S/ Cheryl Atchison
Debtor Joint Debtor

Pursuant to LR 3015(a), the Chapter 13 Trustees have issued a form Chapter 13 Plan with the latest version posted on their
respective websites. The signature below certifies that the pre-printed text of the form Plan has not been altered in any way except for
changes specifically stated and set forth in Section VI. Additional Provisions.

Dated: 11/5/09

/S/ Philip K. Goldstein
Attorney for Debtor(s) or Pro Se

[Eff. 10/17/05 Rev. 4/1/07]

 

 

 
